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UNITEI) STA'I`ES DlSTRICT COURT
FOR THE DISTRICT OF C()LUMBIA F I L E D
lAN ~‘l ZUi‘e`
__ ) core ns herrera sweeney
thl'l`h`l) S'!`A'l`ES ()F AMERICA, ) Courts for :nr: instruct rn Cotnmtzia
)
v~ >
) Crim. Action No. l7~02()l-2 (ABJ)
RlCHARD W. GATBS Ill. ) '
) _
)
Defendant. )
)
()BQ[.§B

Af"tcr consideration oi` defendant Gates’s motion to modify conditions of release,
[Dl<t. ## 96, 981 the governrnent‘s response to defendants motion l_Dkt. ## 109, l24], defendant
Gates’s reply [Dkt. ## l 19, l25], as well as dcl`endant’s supplemental response to the Court’s order
[Dl<t. ## l 16, 118], the motion is hereby granted in part and denied in part
I)ef`endant has promised to forfeit 35,000_.000.00 it`he fails to appear for court proceedings,
or fails to surrender to serve any sentence that the Coort imposes il` he is convicted. 'I`o date, that
promise has been unsecured, and on November 6, 2017, the Court i`ound, t`or reasons stated on the
record at a hearing held that day, that release on personal recognizance with an unsecured
appearance bond would not reasonably assure the appearance of defendant as required Under
those circumstances the Bail Reform Aet, l8 U,S.C. § 3142(0), requires the Court to order
defendant’s pretrial release:

(A) subject to the condition that [he] not commit a Federal, State, or local
crime . t . end

(B) subject to the least restrictive further condition, or combination of
conditions, that litl determines will reasonably assure [his] appearance

is o,s.e. § 3142(¢)(1)@)~"(3).

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fn his niotion, which was supplemented by un additional filing in response to questions
posed by the (`ourt on l)eccinbcr 217 sur ltesp. to (`t.`s (')rder [f)l<t. fill l lo, l 181 ("Resp. to (}`t.`s
()rdci"`)` defendant seeks to secure his promise to appear With real property and to pledge certain
other assets. and he identifies an individual, - who has agreed to serve us a surcty.
l)cf`.`s Mot. to i\/fodif'y Conditions of f{clcasc {l)kt. ## 96, 981 ("‘l`)cl`.`s l\/lot.”).l lt does not appear
that the real property and assets defendant has offered as security have a combined total value of
$5,000,000.()0, and defendant has not provided information sufficient to assure the Co'urt that the
surety has the means to satisfy thc entire forfeiture amount either lint considering all ol`the factors
set forth in section 3142(§.;§), including defendants strong family ties to the rcgion, the fact that
defendant remained in the country while the ease was under investigation and turned himself in to
face these chargcs, and the fact than thc finith States has not objected to the identification of-
-as a surety or informed thc (§ourt that defendant (iatcs has other assets at his disposal,
thc Court concludes that the combination of conditions set forth below is sufficient, but not more
restrictive than necessary, to ensure dcfcndant"s appearance

'l`heret`orc, pursuant to section 3142(0)(1)(13), defendant will be released under the

following conditions that the Court has determined are ncccssary:

 

l ln his motion, defendant proposed that family members

land _yould also serve as surcties, see l)ef.`s Mot., but he failed to
provide any information to stow that they “havc a net worth which shall have sufficient

unencumbered value to pay the amount oftlie bail bond” as required by the Bail Rcforin Act. .S`ee
18 Ll.S.(,`. § 3 l/lZ(c)(l)(l%)(xii); see also id. ('f`he defendant “shall provide the court with
information regarding the value of the assets and liabilities of the surety if other than an approved
surety and the nature and extent ot"`encttntbrnnccs against the surcty’s property"). fn response to
the (`Yourt’s minute order of l)ceetnbcr 2l, 2()17, defendant revised his original proposal and
explained that \vhile _Wcre thc owners of property to be pledged as security under
section 3l42(c)(l)(ll)(xi)` they were not being proffered us sureties under subsection (xii). .S`ee
l{csp. to (i`tl’s ()rdcr al l~ 2.

id

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(A) l)ef`endant must not commit any f`ederal, state_, or local erimc.

tl$) l’ursuant to section 3142(c)(l)(l§)(xi), defendant must execute an agreement to forfeit
the following properties upon failing to appear as required:

fi) 'l`he real property owned by l{ichard W. Llates lll and _

on Virginia Avcnue. Riclnnond, VA-

(_ii) `l"he real )roperty owned by and -on
l,ane, l’rince (ieorge, VA ;

(iii) 'l`hc real property owned by _on_ltoud.
Midlothiatr V/\ -

fiv) 'l`hc l{ieltard W. Gates lll Wholc l,,if`e insurance l’olicy;

(v) 'l`hc four ccounts owned by ltichard W. (iates ill for
the benefit ol` ;

(vi) 'l`he -retirernent and non-retirement accounts in thc name of Ricltard
W. (iates lll and

tvii) "l`ltc - individual Retirentcnt r\ceount in the name of l{iehard W.
folates lll; and

(viii) the-investment account in the name of Riehard W. Gates ll l. 3
('C`) 'f`hc eo~owners ot`each property or account listed above and any adult beneficiary of
an lRA account must also each execute an agreement to forfeit the property upon

dcfendant`s failure to appear.

(l)) Def`endant and the cci-owners must agree in writing not to transfer or further encumber
any ofthe properties and to remain current on mortgage and real estate tax payments

(li`,} 'ln addition, pursuant to section 3142(e)(l)(l%)(xii),_ the proposed
surety, must execute an agreement to serve as a surety and forfeit up to 35,000,00(').0()
upon defendant’s failure to appear.

if defendant fails to appear_, all of the assets listed in paragraphs (B)ti) through (B)(viii)

above will be forfeited fn the event the amount obtained as a result of` forfeiture proceedings does

not equal SS,t)tlt).t)f)0,00‘ the surety will be required to forfeit the difference Tltc necessary sum

 

17 'l`he complete address of each house to be forfeited and the account numbers for the
insurance policy and other financial accounts appear in the sealed exhibit to thc tnotion. lieu lix.
l to l)el`.`s Mot. ll)l<t. !f 98-l l.

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may be generated through o combination ol` the liquidation o|` any assets and/or the sale ot` the

l’innnele l§)rive property

l)el`endunt shall notit`y the Court once all ol` the necessary documents have been executed

and docketed in this case. At that tiine, the Court will issue a separate order releasing defendant

t`ront the condition ot` permanent home confinement in Riclnnond, Virginia, and he will be further

ordered to comply with the following eonditions, to be monitored by the Prctrial Selvices Ageney

ol` the l".astern l)istriet ol` Virginia, thereafter

l\)

/t.

6.

l)el`enda.rit must reside at the \’ii'ginia /\venue house in Riclnnond, Virginia.
l`)ef`endant must abide by a eurl`ew ot` l l:()tt p.rn. until 71()0 a.nt.
i)el`endant must remain within the geographic area Rielnnond, Virginia.

l)eleticlztiit may travel to and front the l`)istriet of Columbia l"or court appearances and
t`or meetings with counsel without neel<ing permission in advance from the Court,
provided that he informs l’retrial Serviees ot` the dates of any travel and Suppiies the
agency with his detailed itinerary three business days before any trip.

T)et`cndant must obtain permission ot`the Court l`or any other domestic travel, including
travel to the l)is;triet ot` Colutnl)ia for any other purpose ./\ny motion Seeking
permission must be filed one week before the proposed trip and must explain why any
proposed i'neeting cannot take place in l`{iehmond or through the ustc ot' phone or
mternet.

Det`endant may not leave the United §>`tates, and he may not apply for any additional
passports or visas.
l)ef`endant’s; wit`e altall surrender any and all current pagsports to the Prctrial Services

Ageney`

Det`endant must stay away from transportation facilitiea, including airports, train
stations, bus Stations, and private airports, other than t`or trips described in paragraphs
4 and 5.

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9. Defendam’s compliance with these conditions will be subject to electronic GPS
monitoring

10. Defendant must report in person once a week to the Prctrial Services Agcr\cy.

AMY Blr:`.l MAN JA()KSON

United States District Judge

SO ORDEREI).

DATE: .lanuary 3, 2018

